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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS



 D.V.D.; M.M.; E.F.D.; and O.C.G.,

              Plaintiffs,

                  v.                                       Case No. 25-cv-10676-BEM

 U.S. DEPARTMENT OF HOMELAND SECURITY;
 Kristi NOEM, Secretary, U.S. Department of
 Homeland Security, in her official capacity; Pamela
 BONDI, U.S. Attorney General, in her official
 capacity; and Antone MONIZ, Superintendent,
 Plymouth County Correctional Facility, in his official
 capacity,

               Defendants.



PLAINTIFFS’ EMERGENCY MOTION FOR TEMPORARY RESTRAINING ORDER
     AND PRELIMINARY INJUCTION ON BEHALF OF PLAINTIFF O.C.G.

       Plaintiff O.C.G. respectfully requests that the Court grant his Motion for a Temporary

Restraining Order and Preliminary Injunction. The grounds for this motion are set forth in the

accompanying memorandum of law, exhibits in support thereof, the Complaint, Dkt. 1, the

Declaration of Plaintiff O.C.G, Dkt, 8-4, Plaintiffs’ previously filed Emergency Motion for

Temporary Restraining Order and Preliminary Injunction and Stay of Administrative Action

and accompanying memorandum and exhibits, Dkts. 6 – 8-24, Reply in Support of Plaintiffs’

Motion for a Preliminary Injunction, Dkt. 57, this Court’s orders referencing Plaintiff O.C.G.,

Dkts. 64 and 80, Defendants’ Notice of Errata and accompanying exhibit, Dkts. 103 and 103-1,

and the applicable law. A proposed order also accompanies this motion.

       This motion is being filed on Sunday, May 18, 2025, based on the following

developments that have occurred since this Court ordered expedited discovery pertaining to the


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circumstances of Plaintiff O.C.G.’s deportation, Dkt. 80. First, on the evening of Thursday,

May 15, 2025, Defendants cancelled the May 16, 2025 deposition of the officer whom

Defendants previously identified as giving Plaintiff O.C.G. notice of deportation to Mexico, and

subsequently filed a Notice of Errata on the public docket acknowledging that “[u]pon further

investigation, Defendants cannot identify any officer who asked O.C.G. whether he had a fear

of return to Mexico. Nor can Defendants identify the officer who O.C.G. states ‘told [him] that

he was being deported to Mexico.’” Dkt. 103 at 1. Defendants also filed amended discovery

responses in light of the misrepresentations in their prior filings.

       Second, Defendants’ exhibit filed with their Notice of Errata publicly revealed O.C.G.’s

name and A number. Defendants attached a second declaration of Brian Ortega, Dkt, 103-1,

which itself attached as an exhibit excerpts from ICE’s ENFORCE Alien Removal Module

(EARM) related to Plaintiff O.C.G., which disclosed Plaintiff O.C.G.’s full name and A number

on the public docket, in violation of this Court’s pseudonym order, Dkt. 13. Defendants’ Notice

of Errata already has been the focus of several news stories by major media outlets, and

undersigned counsel has received further media inquiries. Plaintiff O.C.G is in hiding in

Guatemala and the disclosure of his identity further exacerbates the risk of persecution by

known persecutors as well as others who may become aware of his situation through the media.

Plaintiff O.C.G. now seeks an emergency order to immediately facilitate his return.



                              REQUEST FOR ORAL ARGUMENT

          Pursuant to Local Rule 7.1(d), Plaintiffs believe that the Court can rule without

further hearing but will be available in the event that the Court schedules a hearing.




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Respectfully submitted,

 s/Tomás Arango
 Tomas Arango                                Matt Adams*
 Trina Realmuto*                             Leila Kang*
 Kristin Macleod-Ball*                       Aaron Korthuis*
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 * Application for admission pro hac vice forthcoming

Dated: May 18, 2025




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            CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(a)(2)

       I certify that, in accordance with Local Rule 7.1(a)(2), counsel for Plaintiffs Matt Adams

emailed Defendants’ counsel Mary Larakers, Matthew Seamon, and Elianis Perez at 5:55 pm

ET on May 15, 2025, to inquire whether, in light of Defendants’ misstatements to the Court,

Defendants would facilitate the return of Plaintiff O.C.G.

       On May 16, 2025, at 3:49 pm ET, I emailed Ms. Larakers, Mr. Seamon, and Ms. Perez

to advise them that Plaintiffs would be filing a motion for a temporary restraining order absent a

response from Defendants regarding their willingness to facilitate Plaintiff O.C.G.’s return by

midnight.

       On May 17, 2025 at 12:10 pm ET, I emailed the courtroom deputies along with Ms.

Larakers and Mr. Seamon upon discovering the publication of Plaintiff O.C.G.’s full name and

A-number on the public docket. In that email, I requested removal of the information from the

public facing docket. At 2:45 pm ET, after receiving a redacted version of the filing from Ms.

Larakers, I again advised counsel for Defendants of the filing of this motion.

       On May 18, 2025, at 11:39 am ET, I emailed Defendants’ counsel pursuant to the

protective order in place regarding records obtained through expedited discovery pertaining to

Plaintiff O.C.G. marked as confidential. In that email, I indicated that we would be filing this

motion today.

       These communications were an attempt to resolve the issues raised in this motion, but

the parties were unable to reach a resolution.


s/ Trina Realmuto
Trina Realmuto




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